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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

 PLAINTIFF DOE 1                                )                        3:22cv670
                                                       Civil Action No. ____________
                                                )
 and                                            )
                                                )
 PLAINTIFF DOE 2                                )      JURY TRIAL DEMANDED
                                                )
                                                )
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )
                                                )
 PATRIOT FRONT,                                 )
                                                )
 THOMAS ROUSSEAU,                               )
                                                )
 PAUL GANCARZ,                                  )
                                                )
 NATHAN NOYCE ,                                 )
                                                )
 THOMAS DAIL,                                   )
                                                )
 and                                            )
                                                )
 JOHN DOES 1-23,                                )
                                                )
                Defendants.                     )


                                        COMPLAINT

                                      INTRODUCTION

       1.     Patriot Front is a white supremacist group that calls for the formation of a white

ethnostate. Its mission – as promoted on the group’s website – “is a hard reset on the nation we

see today – a return to the traditions and virtues of our [European] forefathers” who “left their

European homes … [and who] found a common cause and a common identity as Americans.”
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       2.      Responding to directives from the group’s leaders, Patriot Front’s members have

defaced murals honoring Black Americans, targeted LGBTQ+ events, and destroyed public and

private property as part of their campaign to promote their extreme and racist credo. In so doing,

they have intimidated communities based on race and sexual orientation across the country and

deterred community members from accessing public amenities that these community members

have a constitutional right to use.

       3.      As part of Patriot Front’s misguided campaign of vandalism and property

destruction, Defendants in this case targeted the Battery Park community, a historically Black

neighborhood in Richmond, Virginia. The Patriot Front’s scheme began in the summer of 2021

and culminated in the destruction of a mural honoring Black tennis star Arthur Ashe on or about

October 18, 2021. The mural is located in a public park (“the Park”) in the heart of the surrounding

neighborhood. The Park where the mural is located includes many public amenities, such as

playgrounds, walking paths, and basketball and tennis courts.

       4.      Arthur Ashe is a revered son of Richmond. In addition to being the first Black man

to win the U.S. Open in 1968, Mr. Ashe was a committed humanitarian whose work included

establishing the African American Athletic Association and raising money for the United Negro

College Fund. Generations of Black Americans and others have looked up to Mr. Ashe as a role

model. Battery Park residents are particularly proud of Mr. Ashe’s legacy and roots in their city,

and the mural honored Mr. Ashe and his many civic accomplishments.

       5.      On or about October 21, 2021, residents of the Battery Park neighborhood learned

that Patriot Front had vandalized the Arthur Ashe mural. Large portions of the mural – which

featured two portraits of Arthur Ashe and descriptions of his achievements – had been covered in

white paint and then spray painted with Patriot Front insignia.




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        6.     The neighborhood surrounding Battery Park is 77.7% Black and 17.5% White.

Battery Park neighborhood residents, including Plaintiff Doe 1 and Plaintiff Doe 2, were deeply

alarmed by the vandalization of Battery Park starting in the summer of 2021. But the vandalization

of the Arthur Ashe mural converted their feelings of alarm into outright anger, fear, and

intimidation. As a result of the Defendants’ actions, Plaintiffs and their children substantially

curtailed or even eliminated their use of the Park, feeling compelled to avoid the Park’s

playground, paths, basketball and tennis courts, and other available amenities.

        7.     Plaintiffs bring this case against the Patriot Front, some of its leadership, and its

members (“Defendants”) responsible for, or conspiring in, the vandalization of the Arthur Ashe

mural on or about October 18, 2021. Plaintiffs allege that Defendants violated the Ku Klux Klan

Act of 1871, which was designed to prevent precisely the kind of conspiratorial racist activity that

Defendants perpetrated in this case. Plaintiffs additionally allege that Defendants violated Virginia

Code § 8.01-42.1, which prohibits racially motivated intimidation or harassment. Plaintiffs seek

declaratory, injunctive, compensatory, and punitive relief to remedy Defendants’ wrongs.

                                 JURISDICTION AND VENUE

        8.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,

1367.

        9.     Venue is proper in the Richmond division of this Court pursuant to 28 U.S.C.

§ 1391(b) because a substantial portion of the events or omissions giving rise to Plaintiffs’ claims

occurred in Richmond, Virginia.

                                            PARTIES

                                             Plaintiffs

        10.    Plaintiff Doe 1 is a long-term resident of the Battery Park neighborhood and lives

near the Park. Until Defendants’ actions alleged herein, Plaintiff Doe 1 and their family regularly


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used the Park and its amenities, including the basketball and tennis courts, playgrounds, and paths,

on a near daily basis. In the aftermath of the vandalism, Plaintiff Doe 1 and their family felt

compelled to limit and/or stop their use of the Park as a result of Patriot Front’s conduct there.

          11.   Plaintiff Doe 2 is a long-term resident of the Battery Park neighborhood and lives

near the Park. Until Defendants’ actions alleged herein, Plaintiff Doe 2 and their family regularly

used the Park and its amenities, including the basketball and tennis courts, playgrounds, and paths,

on a near daily basis. In the aftermath of the vandalism, Plaintiff Doe 2 and their family felt

compelled to limit and/or stop their use of the Park as a result of Patriot Front’s conduct there.

                                       Defendant Patriot Front

          12.   Defendant Patriot Front is a white supremacist group founded in 2017. Its

ideology, articulated in its online manifesto, is based on a deeply racist belief system shared by its

members – namely, that “the varied nations and cultures of Europe forged [the United States] in

the flames of conquest,” and that true Americans share a “pan-European identity.” Patriot Front

believes that “[t]o be an American is to be a descendant of conquerors . . . . This unique identity

was given to us by our [European] ancestors, and this national spirit remains firmly rooted in our

blood.”

          13.   Defendant Patriot Front’s members routinely attend demonstrations across the

country at which they chant the Nazi slogan “blood and soil.”1

          14.   While Defendant Patriot Front itself was founded in 2017, its leadership has a

longer history of white supremacy and a deeper connection to violence. Defendant Patriot Front




          1
            David Neiwert, When white nationalists chant their weird slogans, what do they mean? SOUTHERN
POVERTY LAW CENTER (Oct. 10, 2017), available at https://www.splcenter.org/hatewatch/2017/10/10/when-white-
nationalists-chant-their-weird-slogans-what-do-they-mean.


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splintered from Vanguard America, one of the central white supremacist groups that marched at

the Unite the Right rally in Charlottesville, Virginia in August 2017.

       15.     Defendant Patriot Front spreads its message of white supremacy and conquest

through masked marches and vandalism, which it calls “activism.”

       16.     In the past three years, Defendant Patriot Front has been responsible for dozens

of acts of property damage and defacement of public art that supports racial justice and LGTBQ+

inclusion all over the country.

       17.     The campaign of vandalism that Defendant Patriot Front and its members pursue

is coordinated. Defendant Patriot Front’s leadership, including National Director Defendant

Thomas Rousseau, require members to publicly place a certain number of Patriot Front stickers

and spray-painted stencils in order to remain members in good standing. Defendant Patriot

Front’s leadership, including National Director Defendant Rousseau, requires members to

purchase the Patriot Front stickers and stencils from Patriot Front’s leadership, specifically from

Defendant Rousseau himself. Defendant Patriot Front’s leadership, including National Director

Defendant Rousseau, require that members get Patriot Front regional and national leadership

approval for any high-profile acts of vandalism.

       18.     Defendant Patriot Front’s vandalism is carefully and intentionally branded, with

detailed instructions from Patriot Front leadership on what color paints to use and on sharing

stencils so that logos and insignia all look the same, regardless of whether they appear in

Richmond, Virginia, or any of the many other communities targeted by the group.

       19.     Defendant Patriot Front’s members spray-painted stencils in other parts of the

country are the same as the ones that Defendant Nathan Noyce and Defendant Thomas Dail




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spray-painted over the Arthur Ashe mural in this case, as these images from the Patriot Front

website reflect:




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       20.    From August through October, 2021, Patriot Front members vandalized murals

honoring Black lives in Norfolk, VA, Raleigh, NC, Lafayette, IN, St. Paul, MN and elsewhere.




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       21.    Defendant Patriot Front is well-organized and follows a defined hierarchical

structure. Defendant Thomas Rousseau, the founder and National Director, oversees all of

Defendant Patriot Front’s activity and distributes every stencil to members across the country.

       22.    Defendant Patriot Front’s geographical chapters, which it calls “networks,” exist

across the country. Network Directors are the highest-ranking members in each network and are

responsible for organizing and executing the vandalism and intimidation events. They report

regularly to National Director Defendant Thomas Rousseau.

                                    Individual Defendants

       23.    Defendant Thomas Rousseau is the founder and is now, and was during the time

of the conspiracy alleged herein, National Director of Defendant Patriot Front. Defendant

Rousseau supervises Patriot Front activities nationwide. Defendant Rousseau has explicitly

encouraged large scale, racially-motivated vandalism by Defendant Patriot Front members by

making it a requirement for membership and threatening expulsion of members who fail to

participate. Defendant Rousseau requires Patriot Front leadership approval before its members

engage in large scale mural coverups.

       24.    Defendant Paul Gancarz, also known as “Samuel VA,” is now, and was during

the time of the conspiracy alleged herein, Defendant Patriot Front’s Network Director for the

region covering Virginia, the District of Columbia, Maryland, and Delaware. As Network Director,

Defendant Gancarz supervises Patriot Front activities in the region. Defendant Gancarz is, and

was during the time of the conspiracy alleged herein, directly involved in, consulted on, and

approved high-profile vandalism in his network, including the vandalism of the Arthur Ashe mural

in Battery Park, Richmond, Virginia. Indeed, Patriot Front requires that Network Directors

approve “large scale mural cover-ups … before members initiate[] them” in their networks.

Defendant Gancarz was present for, and participated in, a meeting on or about October 12, 2021,


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planning the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia, that

occurred just days later.

       25.     Defendant Nathan Noyce, also known as “Roger VA,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members and engaged

in the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia. Defendant Noyce

was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       26.     Defendant Thomas Dail, also known as “Kenneth VA,” is now, and was during

the time of the conspiracy alleged herein, one of Defendant Patriot Front’s members and engaged

in the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia. Defendant Dail

was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       27.     Defendant John Doe 1, also known as “Christopher VA,” is now, and was during

the time of the conspiracy alleged herein, one of Defendant Patriot Front’s members and filmed

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia. Defendant John

Doe 1 was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       28.     Defendant John Doe 2, also known as “Arthur VA,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 2 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       29.     Defendant John Doe 3, also known as “Ben MD,” is now, and was during the time

of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant John




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Doe 3 was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       30.    Defendant John Doe 4, also known as “Grant MD,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 4 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       31.    Defendant John Doe 5, also known as “Harrison VA,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 5 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       32.    Defendant John Doe 6, also known as “John VA,” is now, and was during the time

of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant John

Doe 6 was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       33.    Defendant John Doe 7, also known as “Robert MD,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 7 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       34.    Defendant John Doe 8, also known as “Tyler MD,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 8 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.




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       35.     Defendant John Doe 9, also known as “Victor DE,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 9 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       36.     Defendant John Doe 10, also known as “Vincent VA,” is now, and was during the

time of the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant

John Doe 10 was present for, and participated in, a meeting on or about October 12, 2021, planning

the vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       37.     Defendant John Doe 11, also known as “Matt MD,” was not, during the time of

the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant John Doe

11 was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       38.     Defendant John Doe 12, also known as “Gabe VA,” was not, during the time of

the conspiracy alleged herein, one of Defendant Patriot Front’s members. Defendant John Doe

12 was present for, and participated in, a meeting on or about October 12, 2021, planning the

vandalism of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

                                  Other Individual Defendants

       39.     Defendants John Does 13 through 23 are unknown individuals and entities,

including associates of Defendants, who conspired with Defendants to vandalize the Arthur Ashe

mural or who had the power to prevent or aid in preventing that vandalization, and neglected or

refused to do so.




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                                            FACTS

                            Battery Park and the Arthur Ashe Mural

       40.     In July 2017, a mural honoring Black tennis star Arthur Ashe was unveiled in

Battery Park, located in Richmond’s North Side, near where Mr. Ashe grew up. The mural was

painted by a group of Black-led local artists and took approximately three weeks to complete. It

was financially supported by private donations and the Parks and Recreation Department for the

City of Richmond.

       41.     The mural honoring Arthur Ashe was painted at the entrances and inside of a

pedestrian tunnel joining south and north ends of the Park. It depicted images of Mr. Ashe’s face

and of him holding the trophy after winning Wimbledon in 1975. Inside the tunnel, the mural listed

several of Mr. Ashe’s tennis achievements. The following picture shows the mural before

Defendants vandalized it.




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       42.     Battery Park is a public park owned and managed by the City of Richmond. In

addition to tennis courts, the Park includes two playgrounds, basketball courts, restrooms,

horseshoe pits, a community center that houses a free computer lab, and a swimming pool.

       43.     The United Census Bureau states that zip code 23222, which covers the Battery

Park neighborhood surrounding the Park, includes 28,542 people, of whom 77.7% are Black and

17.5% are White. Battery Park, located in the North Side of Richmond, is in close proximity to

Jackson Ward, the historically Black center of Richmond.

       44.     The Park holds a special place for many Black residents of the area as, for many

years, the Park had the only public swimming pool they felt comfortable using as children during

the years after government-sanctioned segregation ended, when racial tensions in the city and

nationwide remained fraught.

      Defendants’ Vandalism, Culminating in the Destruction of the Arthur Ashe Mural

       45.     Tensions were high in Virginia in the late summer and early fall of 2021, as the

community braced for the start of the civil trial stemming from the Charlottesville Unite the Right

2017 white supremacist rally. The rally, which was held in August 2017 just over an hour away

from Battery Park, was organized by white nationalist and white supremacist groups that have

coordinated and partnered with Patriot Front. As part of the rally, hundreds of white supremacists

marched ostensibly in objection to the removal of a statue commemorating Confederate General

Robert E. Lee. The white supremacists met counter protesters, and the white supremacists

subsequently provoked violence. One of the white supremacists intentionally drove his car into a

group of peaceful counter protesters, murdering Heather Heyer and injuring dozens of others.

       46.     A group of protestors who opposed the white supremacist message of the rally sued

organizers and participants in the rally. Defendants included infamous white nationalists Richard

Spencer and Jason Kessler, as well as neo-Nazi Christopher Cantwell. Plaintiffs included victims


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who were struck by the car and others injured at the Unite the Right rally. Plaintiffs’ suit included

claims for civil rights violations under the Ku Klux Klan Act of 1871.

       47.     Jury selection in the trial began on October 25, 2021. Both national and local media

provided extensive coverage during the lead up to the trial and during the trial itself.

       48.     Starting in the summer of 2021, residents of the Battery Park neighborhood

observed that Patriot Front stickers were being placed on lampposts, stop signs, and elsewhere

throughout the neighborhood, including in the Park. The stickers continued to appear into the fall

of 2021.

       49.     Less than two weeks before the Unite the Right trial was to begin, Patriot Front

members decided to escalate their tactics targeting Battery Park. Beyond putting up stickers, as

Patriot Front members had previously done, Defendants Gancarz, Noyce, Dail and John Does 1

through 12 prepared to destroy a symbol of the neighborhood’s support for and pride in Black

lives and Black accomplishments: the Arthur Ashe mural.

       50.     The vandalization of the mural was not a spur of the moment decision, but rather

was carefully planned. Defendants Gancarz, Noyce, Dail, and John Does 1 through 12

participated in a meeting on or about October 12, 2021, and discussed and planned the

vandalization of the Arthur Ashe mural in Battery Park, Richmond, Virginia.

       51.     Just days after this meeting, Defendants Noyce, Dail, and John Doe 1 arrived at

the pedestrian tunnel where the Arthur Ashe mural was located in the early morning hours on or

about October 18, 2021, armed with flashlights, masks, rubber gloves, spray paint, and stencils.

       52.     As Defendant John Doe 1 filmed, these three defendants walked into the

pedestrian tunnel and stopped part of the way through. In addition to filming, Defendant John

Doe 1 provided lighting for Defendants Noyce and Dail.




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       53.     Defendants Noyce and Dail both wore masks and baseball hats when they entered

the pedestrian tunnel. Defendant Dail’s hat was identical to hats worn by other members of the

Patriot Front around the country, as shown in the following picture from the Patriot Front website:




       54.      Defendant Dail was also carrying a backpack that he took off as soon as the

defendants stopped walking. From this backpack, Defendant Dail removed a can of spray paint.

       55.     While Defendant Dail was taking out his spray paint, Defendant Noyce removed

his hat, put on a headlamp, and turned it on.

       56.     Defendant Dail walked a short distance to a portion of the mural celebrating an

achievement by Arthur Ashe: a sign that read “Ashe was the first African-American man inducted

into the International Tennis Hall of Fame.” The following picture shows the sign before it was

vandalized.




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       57.     Defendant Dail raised the can of spray paint to paint over the sign, but before he

started spray painting, Defendant Noyce told him to “shake it, it’s not going to spray well if you

don’t shake it.” Defendant Dail then shook the can of spray paint.

       58.     As shown in the following picture, Defendant Dail spray-painted white paint over

the sign that celebrated Arthur Ashe’s induction into the International Tennis Hall of Fame while

Defendant Noyce searched the backpack that Defendant Dail had been carrying.




       59.     Defendant Noyce took a can of spray paint out of the backpack that Defendant

Dail had been carrying, shook it for several seconds, then began painting, in white paint, over

another sign celebrating another accomplishment by Arthur Ashe: his victory at Wimbledon and

resultant top ranking in world tennis. The following picture shows Noyce defacing the sign.




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       60.     Defendant John Doe 1 continued to film, and Defendants Noyce and Dail worked

together, spray-painting in white paint over other signs celebrating Arthur Ashe’s achievements,

as shown in the following pictures.




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       61.    As depicted in the following picture, Defendant John Doe 1 continued to film

while Defendants Noyce and Dail removed Patriot Front stencils and cans of spray paint of

different colors from the backpack that Defendant Dail had been carrying.




       62.    Defendants Noyce and Dail worked together, spray-painting Patriot Front stencils

on the white paint that they had, moments earlier, used to cover Arthur Ashe’s achievements. The

following pictures show Defendants Noyce and Dail applying the stencils.




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        63.     While Defendants Noyce and Dail spray-painted stencils on one whitewashed

sign, Defendant John Doe 1 suggested that “for the next one, y’all can switch colors for the

different stencils … try to mix it up a little bit.”




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       64.     Defendants Noyce and Dail followed Defendant John Doe 1’s instructions and

traded spray paint cans before painting the next stencils, as shown in the following picture.




       65.     After they finished stenciling over Arthur Ashe’s achievements, Defendant John

Doe 1 suggested, “you want to get his face or something?” All three defendants walked to one end

of the tunnel to a painting of Arthur Ashe’s face. As Defendants Noyce and Dail lifted their spray

paint cans, Defendant John Doe 1 said, “Fucking n*****’s face.”

       66.     While Defendant John Doe 1 filmed, Defendants Noyce and Dail first spray-

painted the image of Arthur Ashe’s face white as shown in the following pictures.




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         67.   After spray-painting Arthur Ashe’s face white, and as Defendant John Doe 1

continued to film, Defendants Noyce and Dail spray-painted stencils in red and blue on the white

paint:




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       68.     The following picture shows the result of Defendants’ vandalism. The image of

Arthur Ashe’s face was destroyed.




       69.     While Defendant John Doe 1 continued to film, Defendants Noyce and Dail

turned their attention to another image of Arthur Ashe, this one of him celebrating his victory at

Wimbledon. Defendants Noyce and Dail vandalized this image as well, first covering it in white

paint and then, using their stencils, spray-painting red and blue Patriot Front symbols over the


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white paint. The following pictures show Defendants Noyce and Dail defacing this image of Mr.

Ashe and the results of their vandalism.




       70.     This image of Arthur Ashe was also destroyed.




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       71.     Footage of the vandalism of the Arthur Ashe mural featured prominently in a video

Defendant Patriot Front produced of their nationwide acts of vandalism occurring in October

2021. Defendant Patriot Front Network Directors then used this video as part of their efforts to

recruit new members.

                              Reaction of Battery Park Residents

       72.     On or about the morning of October 21, 2021, Battery Park neighborhood residents

discovered the desecrated mural. They mobilized quickly, alerting city officials and connecting

with each other to offer support. By evening, Park officials had painted over the Patriot Front’s

insignia with black paint. But as shown in the picture below, the mural, which had taken months

of planning and work to create, was effectively ruined and the Black man it celebrated erased.




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       73.     Full restoration of the mural was only able to occur many months later.

                     The Impact of Patriot Front’s Vandalism on Residents

       74.     Residents of Battery Park have described feelings of hurt, fear, and anxiety upon

hearing the news of the vandalized mural. Plaintiff Doe 1 first became aware of Patriot Front’s

activity after seeing their stickers plastering the neighborhood in the summer of 2021. Plaintiff

Doe 1 researched the stickers, and the first thing they learned was that the stickers belonged to

Patriot Front, a white supremacist group. Plaintiff Doe 1 felt shocked, angry, and hurt that a white

supremacist group was actively pushing propaganda in their neighborhood.

       75.     Another resident who grew up in the immediate vicinity of Battery Park described

how the vandalism was a violation of what she felt was a sacred space.

       76.     On the morning of October 21, 2021, Plaintiff Doe 1 went for a walk in the Park,

as they regularly do, and came across the vandalized mural in the Arthur Ashe tunnel. After seeing

the spray-painted Patriot Front logos, Plaintiff Doe 1 immediately felt a sense of fear and


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apprehension at being in the Park. In light of the upcoming Charlottesville trial, Plaintiff Doe 1

interpreted the vandalism as a warning from the Patriot Front that Black residents of the

neighborhood and those who opposed white supremacy were not safe.

        77.    Plaintiff Doe 1 tried calling various contacts with the City to ensure that the

vandalism would be cleaned up as soon as possible. Plaintiff Doe 1 spent most of the rest of the

day speaking with neighbors about the vandalism. People shared a sense of fear and a sense that

the park was no longer safe.

        78.    After the vandalism, Plaintiff Doe 1 worried about being targeted, given that their

home, which is close to the Park, had signs showing their support of Black Lives Matter and the

LGBTQ+ community. After the vandalism, Plaintiff Doe 1 removed their BLM signs out of a

concern for safety. Plaintiff Doe 1 wondered if they or their neighbors would be targeted by

Patriot Front and worried for the safety of their children.

        79.    Plaintiff Doe 1 was especially unnerved because of the timing of the vandalism

with the high-profile Charlottesville trial and presence in Virginia of the defendants in that case to

attend court and defend their violent and racist actions.

        80.    As a result of Patriot Front’s vandalism in Battery Park, Plaintiff Doe 1 lost sleep,

had racing thoughts, and felt anxious. In the days and weeks after the vandalism, Plaintiff Doe 1

made sure their children did not go to the Park alone, something that Plaintiff Doe 1 had previously

allowed them to do. Because they felt intimidated and fearful, Plaintiff Doe 1 also started avoiding

the Park at dusk, including skipping watching fireworks there – something they had previously

done.

        81.    After the vandalism of the Arthur Ashe mural, the City locked the tunnel with the

mural so that, for a period of time in the immediate aftermath of the vandalism, the tunnel




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connecting the north and south sides of the Park was completely shuttered both day and night.

With the tunnel locked, the southern part of the park – which includes a playground and basketball

courts – became more difficult for Plaintiff Doe 1 and their neighbors to access.

       82.     Plaintiff Doe 2 is a long-time resident of the Battery Park neighborhood who

frequently used the Park. Prior to the vandalism, Plaintiff Doe 2 and their family would go between

the north and south sides of the Park through the tunnel to make use of various amenities –

including the different playgrounds – but ceased doing so after the Patriot Front’s vandalization of

the Arthur Ashe mural even after it was reopened to the public.

       83.     Plaintiff Doe 2 lost sleep and felt anxious, fatigued, and scared as a result of the

vandalism.

       84.     Plaintiff Doe 2 further worried about the impact of the vandalism on their family:

Plaintiff Doe 2’s child felt considerable stress and anxiety as a result of the vandalism. Plaintiff

Doe 2 regularly considered placing their oldest child in therapy as a result of the stress and anxiety

the child felt because of the vandalism. Plaintiff Doe 2 had previously allowed a minor family

member to walk their dog near the Park but, after the vandalism, Plaintiff Doe 2 no longer felt it

was safe and stopped allowing this family member to walk the dog near the Park or meet friends

in the Park.

       85.     After the vandalism, friends of Plaintiff Doe 2’s family refused to meet Plaintiff

Doe 2 or their family members at the Park, because of the vandalism.




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                                      CAUSES OF ACTION

                                        COUNT I
                                   42 U.S.C. § 1985(3)
         Conspiracy to Violate Civil Rights Under the Ku Klux Klan Act of 1871
   Against Defendants Patriot Front, Noyce, Dail, Gancarz, and John Does 1 through 23

        86.     Plaintiffs reallege and incorporate all prior paragraphs of this Complaint as if fully

set forth herein.

        87.     Section 1985(3) makes it unlawful for two or more persons to conspire “for the

purpose of depriving, either directly or indirectly, any person or class of persons of the equal

protection of the laws, or of equal privileges and immunities under the laws ....” Moreover, the

statute provides a private right of action where any person does, or causes to be done, “any act in

furtherance of the conspiracy, whereby another individual is injured in his person or property, or

deprived of having and exercising any right or privilege of a citizen of the United States.” 42

U.S.C. § 1985(3).

        88.     Defendants Noyce, Dail, Gancarz, and John Does 1 through 12 each agreed,

coordinated, and executed a common plan with at least one other person to interfere with Black

patrons of the Park and those opposed to white supremacy in their enjoyment of a place of public

accommodation, the Park, in denial of their equal protection of the law and equal privileges

thereunder. This conspiracy was motivated by racial animus.

        89.     As set forth in the paragraphs above, Defendants Noyce, Dail, Gancarz, and John

Does 1 through 12 repeatedly engaged in overt acts in furtherance of this conspiracy, including

the procurement and distribution of paint, stencils, and other supplies; meeting to plan acts of

vandalism; and acts of vandalism and destruction of property.

        90.     Defendants Noyce, Dail, and John Doe 1 prepared for the attack and arrived with

the necessary supplies and a clear plan to vandalize the Arthur Ashe mural. Defendants Noyce



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and Dail worked together to cover the mural with spray paint and Patriot Front images. Defendant

Doe 1 shined a flashlight so that Defendants Noyce and Dail had light to work by and filmed them

as they methodically worked their way down the mural. Defendant John Doe 1 also provided

encouragement and assistance, instructing them to switch colors of paint and to paint the “fucking

n*****’s face.”

         91.   Defendant John Does 13 through 23 are unknown individuals and entities,

including associates of Defendants, who conspired with Defendants to vandalize the Arthur Ashe

mural.

         92.   Defendant Patriot Front is vicariously liable for the violations of section 1985 by

its agents, each of whom acted within the scope of their agency. At the time of the conspiracy

alleged herein, Defendant Patriot Front members acted as its agents within their roles as

members of Defendant Patriot Front.

         93.   Defendant Patriot Front is further liable for violations of section 1985 because it

conspired to vandalize the mural with Defendants John Doe 11 and John Doe 12, who were not

members of the Patriot Front at the time of the planning meeting on or about October 12, 2021.

         94.   As a direct and proximate result of the overt acts in furtherance of this conspiracy,

as set forth in the above paragraphs, each Plaintiff was deprived of one or more of their rights or

privileges as a citizen of the United States, including the right to equal protection of the laws, to

equal privileges thereunder, to enjoy Battery Park, a place of public accommodation, and to do so

without fear or intimidation on account of race.

         95.   As a direct and proximate result of Defendants’ conspiracy and conduct, each

Plaintiff suffered injury to their person, including emotional injury, and is entitled to

compensatory, consequential, and punitive damages, in an amount to be determined by the Court.




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                                           COUNT II
                                        42 U.S.C. § 1986
                  Action for Neglect to Prevent Interference with Civil Rights
                             Under the Ku Klux Klan Act of 1871
               Against Defendants Patriot Front, Rousseau, Noyce, Dail, Gancarz,
                                 and John Does 1 through 12

        96.     Plaintiffs reallege and incorporate all prior paragraphs of this Complaint as if fully

set forth herein.

        97.     This claim arises under 42 U.S.C. § 1986, which makes liable any person who

knows that the wrongs conspired to be done as part of a section 1985 conspiracy are about to be

committed, has the power to prevent or aid in preventing those wrongs, and yet neglects or refuses

to help prevent them.

        98.     Each Defendant had knowledge that the wrongs conspired to be done, as set out in

this Complaint, were about to be committed, and neglected or refused to prevent or aid in

preventing those wrongs.

        99.     Each such Defendant was in a position and otherwise had the power to prevent, or

aid in preventing, the wrongs conspired to be done as asserted in Count I.

        100.    Defendant Thomas Rousseau had knowledge of the conspiracy in violation of 42

U.S.C. § 1985(3) and had the power to prevent or aid in preventing the wrongs conspired to be

done under Count I. As founder and National Director of the Patriot Front during the time of the

conspiracy alleged herein, Defendant Rousseau required all Patriot Front members to get Patriot

Front leadership approval before engaging in mural coverups. Defendant Rousseau had the power

to stop any action by Patriot Front members but neglected to take such actions to prevent the

conspiracy alleged herein, or to make other reasonably diligent efforts.

        101.    Defendant Paul Gancarz had the power to prevent or aid in preventing the wrongs

conspired to be done as asserted in Count I. As Network Director of the area that included Virginia



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during the time of the conspiracy alleged herein, Defendant Gancarz required all Patriot Front

members to get his personal approval before engaging in mural coverups in his network.

Defendant Gancarz had the power to stop any action by Patriot Front members but neglected to

take such actions to prevent the conspiracy alleged herein, or to make other reasonably diligent

efforts.

           102.   As a participant in the conspiracy and planning meeting on or about October 12,

2021, Defendant Gancarz also had actual knowledge of the planned vandalization. As a

participant in the conspiracy, in addition to his supervisory role as the Network Director,

Defendant Gancarz had the power to prevent the vandalism of the Arthur Ashe mural planned at

the October 12, 2021, meeting. Defendant Gancarz could have but neglected to take such actions

or make other reasonably diligent efforts to prevent or aid in preventing the conspiracy alleged

herein.

           103.   As one of the vandalizers of the Arthur Ashe tunnel in Battery Park, Defendant

Nathan Noyce had knowledge of the Patriot Front’s conspiracy and the power to prevent or aid in

preventing its wrongs. As a Patriot Front member at the time of the conspiracy alleged herein and

who participated in the vandalism on or around October 18, 2021, and as a participant in the

planning meeting on or about October 12, 2021, Defendant Noyce could have prevented or aided

in preventing the conspiracy alleged herein. Defendant Noyce neglected to take such actions or

make other reasonably diligent efforts.

           104.   As one of the vandalizers of the Arthur Ashe tunnel in Battery Park, Defendant

Thomas Dail had knowledge of the Patriot Front’s conspiracy and the power to prevent or aid in

preventing its wrongs. As a Patriot Front member at the time of the conspiracy alleged herein and

who participated in the vandalism on or around October 18, 2021, and as a participant in the




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planning meeting on or about October 12, 2021, Defendant Dail could have prevented or aided in

preventing the conspiracy alleged herein. Defendant Dail neglected to take such actions or make

other reasonably diligent efforts.

       105.    As one of the vandalizers of the Arthur Ashe tunnel in Battery Park, Defendant

John Doe 1 had knowledge of the Patriot Front’s conspiracy and the power to prevent or aid in

preventing its wrongs. As a Patriot Front member at the time of the conspiracy alleged herein and

who participated in the vandalism on or around October 18, 2021, by recording it, and as a

participant in the planning meeting on or about October 12, 2021, Defendant John Doe 1 could

have prevented or aided in preventing the conspiracy alleged herein. Defendant John Doe 1

neglected to take such actions or make other reasonably diligent efforts.

       106.    Defendants John Does 2 through 12 had knowledge of the Patriot Front’s

conspiracy to vandalize the Arthur Ashe mural, having participated in a planning meeting on or

around October 12, 2021. As a Patriot Front members at the time of the conspiracy alleged herein,

and as participants in the planning meeting on or about October 12, 2021, Defendants John Does

2 through 12 had the power to prevent or aid in preventing its wrongs. Defendants John Does 1

through 12 neglected to take such actions or make other reasonably diligent efforts.

       107.    Defendant John Does 13 through 23 are unknown individuals and entities,

including associates of Defendants, who knew about the conspiracy to vandalize the Arthur Ashe

mural and had the power to prevent or aid in preventing that vandalization, and neglected or

refused to do so.

       108.    Defendant Patriot Front is vicariously liable for the violations of section 1986 by

their agents, each of whom acted within the scope of its agency. At the time of the conspiracy




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alleged herein, Defendant Patriot Front members acted as its agents within their roles as

members of Defendant Patriot Front.

        109.    Plaintiffs suffered their injuries and damages as a direct result of the neglect and

failure of each Defendant, separately and together, to prevent or aid in preventing, the wrongs

conspired to be done as described in this Complaint.

                                         COUNT III
                                  Virginia Code § 8.01-42.1
                  Civil Action for Racial, Religious, or Ethnic Harassment
                Against Defendants Patriot Front, Noyce, Dail, and John Doe 1

        110.    Plaintiffs reallege and incorporate all prior paragraphs of this Complaint as if fully

set forth herein.

        111.    Virginia Code § 8.01-42.1 creates a civil cause of action for any person who is

subjected to acts of intimidation or harassment if motivated by racial, religious, or ethic animosity.

        112.    As one of the vandalizers of the Arthur Ashe tunnel in Battery Park, Defendant

Nathan Noyce participated in the vandalism of the Arthur Ashe mural. Upon information and

belief, Defendant Noyce knew that Arthur Ashe was celebrated as a successful Black tennis

player. Upon information and belief, Defendant Noyce knew that the Arthur Ashe mural was

located in a park in a predominantly Black neighborhood. Defendant Noyce destroyed the Arthur

Ashe mural, specifically images depicting Arthur Ashe, while Defendant John Doe 1 said

“fucking n*****’s face.” Defendant Noyce’s actions subjected Plaintiffs to intimidation and

harassment motivated by racial animosity.

        113.    As one of the vandalizers of the Arthur Ashe tunnel in Battery Park, Defendant

Thomas Dail participated in the vandalism of the Arthur Ashe mural. Upon information and belief,

Defendant Dail knew that Arthur Ashe was celebrated as a successful Black tennis player. Upon

information and belief, Defendant Dail knew that the Arthur Ashe mural was located in a park in



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a predominantly Black neighborhood. Defendant Dail destroyed the Arthur Ashe mural,

specifically an image depicting Arthur Ashe, while Defendant John Doe 1 said “fucking n*****’s

face.” Defendant Dail’s actions subjected Plaintiffs to intimidation and harassment motivated by

racial animosity.

       114.    As one of the vandalizers of the Arthur Ashe tunnel in Battery Park, Defendant

John Doe 1 participated in the vandalism of the Arthur Ashe, by filming Defendants Noyce and

Dail destroying the Arthur Ashe mural. Defendant John Doe 1 also participated in the vandalism

by directing Defendants Noyce and Dail to switch paint, to cover up Arthur Ashe’s face, and to

fill in missing pieces of the stencils. While Defendants Noyce and Dail destroyed Arthur Ashe’s

face, Defendant John Doe 1 said “fucking n*****’s face.” Upon information and belief,

Defendant John Doe 1 knew that Arthur Ashe was celebrated as a successful Black tennis player.

Upon information and belief, Defendant John Doe 1 knew that the Arthur Ashe mural was located

in a park in a predominantly Black neighborhood. Defendant John Doe 1’s actions subjected

Plaintiffs to intimidation and harassment motivated by racial animosity.

       115.    Defendant Patriot Front is vicariously liable for the violations of Virginia Code

§ 8.01-42.1 by their agents, each of whom acted within the scope of its agency. At the time of the

conspiracy alleged herein, Defendant Patriot Front members acted as its agents within their roles

as members of Defendant Patriot Front.

       116.    Plaintiffs suffered their injuries and have been grievously damaged as a direct and

proximate result of Defendants’ acts of intimidation and harassment.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request an award of the following relief:

       a.      A declaratory judgment that the actions described herein deprived Plaintiffs of their

rights under federal and state law;


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       b.      Injunctive relief enjoining Defendants from future violations of rights guaranteed

by federal and state law;

       c.      Compensatory and punitive damages in an amount to be determined at trial;

       d.      Interest, attorneys’ fees, and costs; and

       e.      Such other relief as the Court deems necessary and just.

                                        JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues so triable.



                                              PLAINTIFF DOE 1 and
                                              PLAINTIFF DOE 2

                                              By /s/ Michael R. Shebelskie
                                                                  Counsel

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